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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISON


 COKER CHRISTOPHER                             §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §              C.A. NO. 4:15-CV-700-O
                                               §
 OIL FIELD EQUIPMENT RENTAL,                   §
 LLC, and NANCY FULLER                         §
                                               §
        Defendants.                            §



                        STIPULATION OF VOLUNTARY DISMISSAL


        Pursuant to Fed. R.Civ. P. 41(a)(1)(A)(ii), Plaintiff Christopher Coker, and Defendants

 Oilfield Equipment Rental, LLC and Nancy Fuller, hereby stipulate and agree that they have

 resolved all claims asserted in this case and that this action should be dismissed with prejudice,

 each party to pay its own costs and fees. Plaintiff and Defendants respectfully request that the

 Court vacate all pending deadlines in the case and enter dismissal.
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  Dated this 8th day of February, 2016.



                                           s/ Galvin B. Kennedy
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                                          and Nancy Fuller




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                              CERTIFICATE OF CONFERENCE

         I hereby certify that counsel for Plaintiffs and Defendants have conferred and agreed to
 the relief sought through this stipulation.

                                                             /s/ Galvin B. Kennedy
                                                             Galvin B. Kennedy


                                 CERTIFICATE OF SERVICE

      I certify that this document was served on all parties on February 8, 2016 via the Court’s
 CM/ECF system.


                                                             /s/ Galvin B. Kennedy
                                                             Galvin B. Kennedy




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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISON


 COKER CHRISTOPHER                          §
                                            §
        Plaintiff,                          §
                                            §
 v.                                         §             C.A. NO. 4:15-CV-700-O
                                            §
 OIL FIELD EQUIPMENT RENTAL,                §
 LLC, and NANCY FULLER                      §
                                            §
        Defendants.                         §


                           PROPOSED ORDER OF DISMISSAL

        Upon considering the parties’ Stipulation of Voluntary Dismissal, the Court hereby

 ORDERS that this case is DISMISSED with PREJUDICE. All pending deadlines in this action

 are hereby VACATED. All costs and fees are to be incurred by the party bearing the same.

 SO ORDERED.

 Date: ____________________

                                                          ________________________
                                                          Hon. Reed O’Connor
                                                          United States District Court Judge




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